    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 1 of 15 PageID #:456




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JACQUELINE HUSKEY and RIIAN WYNN,
on behalf of themselves and all others similarly
situated,                                                Case No. 22-cv-07014

               Plaintiffs,                               Hon. Jeffrey I. Cummings

       v.                                                Magistrate Judge Jeffrey T. Gilbert

STATE FARM FIRE & CASUALTY
COMPANY,

               Defendant.

         STATE FARM FIRE AND CASUALTY COMPANY’S MEMORANDUM
         OF LAW IN SUPPORT OF ITS MOTION FOR PROTECTIVE ORDER

       Defendant State Farm Fire & Casualty Company (“State Farm”), through its counsel,

hereby moves pursuant to Federal Rule of Civil Procedure 26(c) for entry of a protective order to

enforce the limits of discovery provided by Rule 26(b) and this Court’s discovery phasing order

(Dkt. 79) by precluding the discovery sought by Plaintiffs Jacqueline Huskey and Riian Wynn in

document subpoenas served by Plaintiffs on nonparties Crawford & Company (“Crawford”), Duck

Creek Technologies Inc. (“Duck Creek”), Eberl Claims Service LLC (“Eberl”), E.A. Renfroe &

Company, Inc. (“Renfroe”), Salesforce Inc. (“Salesforce”), Symbility Solutions Corp.

(“Symbility”), and Verisk Analytics, Inc. (“Verisk”), true and correct copies of which are attached

hereto as Exhibits 1 through 7. In the alternative, State Farm requests pursuant to Federal Rule of

Civil Procedure 45 that the Court quash the subpoenas to Crawford, Duck Creek, Eberl, Renfroe,

Salesforce, and Verisk because they infringe on State Farm’s legitimate interest in protecting its

confidential commercial business information.
    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 2 of 15 PageID #:457




                            INTRODUCTION AND BACKGROUND

       In this purported disparate-impact case, Plaintiffs allege that State Farm “delegates … the

initial assessment of the homeowners insurance claims it receives” to “algorithmic decision-

making tools” that allegedly “are designed to, among other things, predict the likelihood of fraud

and to sort ‘no touch’ or ‘low touch’ claims (which are paid out immediately or near immediately)

from ‘high touch’ claims (which trigger additional scrutiny).” First Am. Class Action Compl.

(“FAC,” Dkt. 23) ¶ 32; see also id. ¶ 40 (referencing State Farm’s alleged “policy of delegating

the initial assessment of claims to its algorithmic decision-making tools”); ¶ 48 (referencing State

Farm’s alleged “policy of delegating the initial claims processing review to its algorithmic

decision-making tools”); ¶ 49 (referencing State Farm’s alleged “delegation of the initial claims

processing review to its algorithmic decision-making tools”); see also Tr. of Feb. 22, 2024 Status

Hearing, attached as Exhibit 8, at 10:18-22 (Plaintiffs’ counsel explaining that “[t]he specific

policies” alleged by Plaintiffs are State Farm’s purported policy of “[d]elegating the initial sort of

sorting of claims” to “some sort of machine process”); id. at 11:6-8 (“[O]ur allegation is that there’s

a policy (inaudible) indicating some sort of automatic, automated process, the initial sort of sorting

of claims.”).1 Plaintiffs further allege that this supposed delegation of the initial assessment or

sorting of homeowners insurance claims to “algorithmic decision-making tools” has a disparate

impact on Black policyholders in six states, purportedly causing claims from Black homeowners

to receive “greater scrutiny” than the claims of white homeowners. FAC ¶¶ 3-6.2


1
 State Farm notes that it has made minor redactions to the copy of the transcript attached as Exhibit
8 to protect certain Confidential information of State Farm. None of the redacted text is cited or
relied on in this Memorandum.
2
  Plaintiffs’ allegations of disparate impact are based on information purportedly derived from a
2021 survey by YouGov. FAC¶¶ 14–20. In responding to State Farm’s arguments about those
allegations in its motion to dismiss the FAC (which Plaintiffs characterized as “nitpick[ing]”),
Plaintiffs asserted they were not required, at the pleading stage, to defend their methodology, and


                                                  2
    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 3 of 15 PageID #:458




       On February 8, 2024, this case was referred to Magistrate Judge Sunil Harjani for discovery

supervision and scheduling. Dkt. 74. On February 20, 2024, the parties filed a joint status report

with Judge Harjani in which they agreed that pre-class certification discovery in this case should

proceed in phases, but disagreed as to the nature of such phasing. Dkt. 76. On February 23, 2024,

following a hearing held on February 22, Judge Harjani entered an order on the phasing of

discovery. See Dkt. 79. Specifically, Judge Harjani ordered that “Phase I discovery shall be limited

to algorithmic decision-making tools employed by State Farm to screen out potentially fraudulent

or complex claims from straightforward homeowners insurance claims. This is the gravamen of

Plaintiffs’ amended complaint.” Id. Judge Harjani further ordered that “Phase I should start with a

focus on what algorithmic tools are used at the outset to sort potentially fraudulent/complex claims

from straightforward claims, before the parties start exploring such voluminous ESI discovery

around communications and documents about their use, and the means and methods in which they

are used that could, allegedly, result in a disparate impact.” Id.

       Judge Harjani accordingly ordered the parties to propose a discovery schedule for Phase I

that “includes a preliminary focus on the identification of these tools.” Id. Judge Harjani explained

that this discovery

       should include some initial answers to interrogatories, some initial production of
       documents, and potentially a short Rule 30(b)(6) deposition all done expeditiously.
       The parties should identify the tools first through these discovery devices before
       the deep dive into the tools.

Id. On March 5, 2024, Judge Harjani entered a “discovery schedule for the preliminary focus of

Phase I discovery.” Dkt. 81 (emphasis added). That discovery is to culminate in Rule 30(b)(6)


that State Farm would be “free to explore” the details of the survey in discovery. Dkt. 33 at 16-17;
see also Mem. Op. and Order dated Sept. 11, 2023 (Dkt. 52) at 16 (agreeing with Plaintiffs that
they were not required to defend their methodology at the pleading stage and that State Farm would
be “free to explore” those details in discovery). Despite these representations, Plaintiffs have
refused to produce any discovery relating to the YouGov survey.


                                                  3
    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 4 of 15 PageID #:459




deposition to be completed by August 9, 2024, after which the parties “shall meet and confer for a

schedule to complete Phase I discovery.” Id.

       On March 27, 2024, Plaintiffs propounded written discovery requests to State Farm, and

also notified State Farm that they were serving subpoenas on the seven nonparty entities identified

above. See Exs. 1-7, 9. Those subpoenas plainly violate the Court’s orders concerning the phasing

of discovery. They are not limited to discovery concerning “algorithmic tools [that] are used at the

outset to sort potentially fraudulent/complex claims from straightforward claims,” but instead

purport to require the subpoenaed entities to produce documents relating to a much broader

universe of products and services (including, for instance, products such as Xactimate that

Plaintiffs certainly know are used to estimate the cost to repair or replace damaged property, not

to sort potentially fraudulent or complex claims from straightforward claims). They are also not

limited to the “identification” of such tools, but instead purport to require the subpoenaed entities

to provide exactly the kind of “voluminous ESI discovery around communications and documents

about” the tools that Judge Harjani explicitly stated would not be allowed at this stage. Nor are the

subpoenas even limited to Phase I discovery (much less the “preliminary focus of Phase I

discovery” contemplated by Judge Harjani’s order), but instead include requests that Plaintiffs

expressly identify as “Phase 2” discovery. Finally, in addition to violating the Court’s discovery

phasing orders, the discovery sought by the subpoenas would also needlessly infringe upon State

Farm’s legitimate business interests.

       Pursuant to Local Rule 37.2, the undersigned certifies that after consultation by telephone

and good faith attempts to resolve differences the parties were unable to reach an accord regarding

the issues raised in this motion. Specifically, on April 2, 2024, State Farm’s counsel notified

Plaintiffs’ counsel by email of State Farm’s objection to the subpoenas. See Exhibit 10. On April




                                                 4
    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 5 of 15 PageID #:460




5, 2024, the Parties conferred by telephone regarding State Farm’s objections to the subpoenas.

Plaintiffs declined to withdraw or modify their subpoenas in response to State Farm’s objections.

State Farm therefore brings the instant motion seeking a protective order prohibiting Plaintiffs

from pursuing these subpoenas.

                                       LEGAL STANDARD

       The “relevance and proportionality limits in Rule 26 that guide the proper scope of

discovery” as to parties “apply with equal force to nonparty discovery under Rule 45.” DeLeon-

Reyes v. Guevara, No. 1:18-cv-1028, 2020 WL 3050230, at *3 (N.D. Ill. June 8, 2020); see also

Buonavolanto v. LG Chem, Ltd., No. 18 C 2802, 2019 WL 8301068, at *2 (N.D. Ill. March 8,

2019) (similar). Rule 26 defines the scope of discovery as follows: “Unless otherwise limited by

court order, … Parties may obtain discovery regarding any nonprivileged matter that is relevant to

any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

Here, of course, the scope of discovery has been “otherwise limited by court order”—specifically,

the discovery phasing orders discussed above.

       A party may “seek a protective order under Rule 26 to limit discovery [sought] from a third

party” that is “outside the scope permitted by Rule 26(b)(1).” DeLeon-Reyes, 2020 WL 3050230,

at *3; see also Buonavolanto, 2019 WL 8301068, at *2 (holding that defendants had standing to seek a

Rule 26(c) protective order as to subpoenas issued to nonparties “to enforce the limits on discovery

provided by Fed. R. Civ. P. 26(b)”); Allstate Ins. Co. v. Electrolux Home Prods. Inc., No. 16-cv- 4161,

2017 WL 5478297, at *3 (N.D. Ill. Nov. 15, 2017) (similar, collecting cases). The Court’s “broad

discretion [to] manag[e] discovery” includes the discretion to enter such a protective order. DeLeon-

Reyes, 2020 WL 3050230, at *3 (quoting Jones v. City of Elkhart, Ind., 737 F.3d 1107, 1115 (7th

Cir. 2013)) (internal quotation marks omitted); see, e.g., Buonavolanto, 2019 WL 8301068, at *3




                                                  5
     Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 6 of 15 PageID #:461




(granting defendants’ motion for a protective order based on court’s finding that the information

requested by plaintiff’s subpoenas was outside the scope of discovery allowed by Rule 26(b)).

        In addition, a party has standing to move to quash a nonparty subpoena pursuant to Federal

Rule of Civil Procedure 45 when “the subpoena infringes upon” the party’s “legitimate interests.”

PrimeSource Bldgs. Prods., Inc. v. Felten, No. 16 CV 11468, 2018 WL 10425599, at *2 (N.D. Ill.

Apr. 27, 2018). Examples of legitimate interests include “interference with business relationships.”

DeLeon-Reyes, 2020 WL 3050230, at *2. Rule 45 specifically permits courts to quash subpoenas

“to protect a person . . . affected by a subpoena . . . if” the subpoena requires disclosure of “a trade

secret or other confidential research, development, or commercial information.” Fed. R. Civ. P.

45(d)(3)(B)(i).

                                            ARGUMENT

I.      The Subpoenas Violate the Court’s Discovery Phasing Orders As Well as the
        Relevance and Proportionality Requirements of Rule 26(b)(1).

        The Court’s February 23, 2024 order is clear: “Phase I discovery shall be limited to

algorithmic decision-making tools employed by State Farm to screen out potentially fraudulent or

complex claims from straightforward homeowners insurance claims.” Dkt. 79 (emphasis added).

The Court further ordered that “Phase I should start with a focus on what algorithmic tools are

used at the outset to sort potentially fraudulent/complex claims from straightforward claims, before

the parties start exploring such voluminous ESI discovery around communications and documents

about their use[.]” Id. (emphasis added). And Judge Harjani expressly limited the discovery

schedule he entered to “the preliminary focus of Phase I discovery.” Dkt. 81 (emphasis added).

All of Plaintiffs’ subpoena requests go far beyond the scope set out in Judge Harjani’s orders.

        In addition, the reason Judge Harjani limited Phase I discovery to “algorithmic decision-

making tools employed by State Farm to screen out potentially fraudulent or complex claims from



                                                   6
    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 7 of 15 PageID #:462




straightforward homeowners insurance claims” was because he determined that is “the gravamen

of Plaintiffs’ amended complaint.” Dkt. 79. As discussed infra, however, none of Plaintiffs’

requests to the subpoenaed entities are properly within that scope of discovery (much less within

the “preliminary focus of Phase I discovery” as defined by the Court’s orders). As a result, the

requests not only directly violate Judge Harjani’s discovery phasing orders, they also fail the

relevance and proportionality requirements of Rule 26(b)(1).3

        Phase 1 Request Nos. 1-4

        Plaintiffs’ first request seeks all agreements that each of the subpoenaed companies has or

had with State Farm concerning all products or services that in any way use or incorporate an

algorithmic tool and are capable of assisting in the identification of potentially fraudulent or

complex homeowners insurance claims. See Exs. 1-7, Req. No. 1. The second, third and fourth

requests to each entity seek documents and communications sufficient to identify:

    •   all products or services the subpoenaed entity provided to State Farm that in any way
        use or incorporate an algorithmic tool and are capable of assisting in the identification
        of potentially fraudulent or complex homeowners insurance claims (Exs. 1-7, Req. No. 2);

    •   all products or services the entity provided to State Farm that in any way use or
        incorporate an algorithmic tool and are capable of assisting with sorting, screening,
        labeling, routing, tracking, or categorizing homeowners insurance policyholders or claims
        in any manner that may affect or influence how an insurer processes and/or adjusts such
        claims (Exs. 1-7, Req. No. 3); and

    •   all products or services the entity provided to State Farm that in any way use or
        incorporate an algorithmic tool and are capable of assisting with development,
        evaluation, or modification of policies, procedures, and/or criteria for identifying
        homeowners claims as potentially fraudulent or complex (Exs. 1-7, Req. No. 4).


3
  Although Phase II discovery may never occur, and consequently its potential scope has not been
defined, Judge Harjani’s February 23, 2024 Order suggested that Phase II discovery (if it occurs)
would focus on “[c]lass-wide claims and statistical data.” Dkt. 79. There is no suggestion in any
of Judge Harjani’s orders that the scope of discovery in this case will at any point include discovery
into products or services provided by the subpoenaed entities other than “algorithmic decision-
making tools employed by State Farm to screen out potentially fraudulent or complex claims from
straightforward homeowners insurance claims.” Id.


                                                  7
    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 8 of 15 PageID #:463




Plaintiffs broadly define “algorithmic tool” as “a tool that uses algorithms, statistics, data analytics,

machine learning, deep learning, natural language processing, artificial intelligence, or any other

data science tools or concepts to label data, predict outcomes, or assist with decision-making.”

Exs. 1-7, Definition No. 1.

        These requests go well beyond what the Court’s discovery phasing orders provide. Those

orders direct the parties to engage in discovery to identify what algorithmic tools State Farm uses

at the outset of a claim “to sort potentially fraudulent/complex claims from straightforward

claims.” The Court’s orders do not contemplate discovery regarding any and all products or

services that use or incorporate an algorithmic tool (again, as broadly defined by Plaintiffs) that

might be able to identify or aid in the identification of a potentially fraudulent or complex claim,

or that might affect or influence how an insurer processes and/or adjusts a homeowners claim, or

that might be capable of assisting with the development policies, procedures or criteria for

identifying claims as potentially fraudulent or complex, as Plaintiffs’ requests seek. The Court

should therefore enter an order “forbidding the … discovery” sought by these requests, Fed. R.

Civ. P. 26(c), or limit the requests to documents sufficient to identify any algorithmic tools the

subpoenaed entity provides to State Farm that State Farm uses at the outset of a claim “to sort

potentially fraudulent/complex claims from straightforward claims.” 4



4
  State Farm recognizes that the subpoenaed entities might well object to these requests even if
they were so limited, on the ground that they would still be unnecessarily cumulative and
duplicative of discovery that Plaintiffs have already sought from State Farm. See, e.g., Craigville
Tel. Co. v. T-Mobile USA, Inc., No. 19 CV 7190, 2022 WL 17740419, at *1, *4 (N.D. Ill. Dec. 16,
2022) (recognizing that a court “may limit discovery … if the information sought is cumulative or
duplicative of other discovery,” and stating that the court was “not inclined to subject a nonparty
to unduly burdensome discovery for information that is, for the most part, readily available from
a party”); Tresona Multimedia, LLC v. Legg, No. 15 C 4834, 2015 WL 4911093, at *3 (N.D. Ill.
Aug. 17, 2015) (“A non-party subpoena seeking information that is readily available from a party
through discovery may be quashed as duplicative or cumulative”; granting motion to quash on this
ground); see also Chart Comparing Plaintiffs’ Discovery Requests to State Farm with Plaintiffs’


                                                   8
    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 9 of 15 PageID #:464




       Phase 1 Request No. 5

       Plaintiffs’ fifth request to each subpoenaed entity other than Eberl seeks documents and

communications sufficient to demonstrate State Farm’s “use, employment, or deployment of,

and/or access to,” a broad swath of entity-specific products and services, apparently identified

largely from Google searches, without regard to either what those products or services do—i.e.,

whether State Farm uses the identified products or services “to sort potentially fraudulent/complex

claims from straightforward claims”—or whether the identified products or services are

“algorithmic tools.” For example, the Crawford subpoena requests documents and

communications regarding Trulook, Digital Desk, Crawford OnDemand Estimates, and/or

Asservio. Ex. 1, Req. No. 5.5 To the extent any of the products or services identified in these

requests are in fact “algorithmic tools” that State Farm uses “to sort potentially fraudulent/complex

claims from straightforward claims,” documents “sufficient to identity” those tools are requested

by Plaintiffs’ first four requests (which are themselves overly broad, as discussed supra), making



Subpoena Requests, attached as Exhibit 11. Indeed, at least one court within this district has held
that a party may seek a Rule 26(c) protective order “[t]o prevent cumulative and unnecessary
burden to … subpoenaed third-parties in producing documents that” the issuing party “can acquire
directly from” another party in the litigation). PrimeSource Buildings Prods., Inc., 2018 WL
10425599, at *3.
5
  The Duck Creek subpoena seeks documents and communications about Duck Creek Claims,
Duck Creek On Demand, and/or Duck Creek Claims Management Software. Ex. 2, Req. No. 5.
The Renfroe subpoena seeks documents and communications about Estimates on Demand and
Renfroe’s Claims Management and Consulting Services. Ex. 4, Req. No. 5. The Salesforce
subpoena seeks documents and communications about Salesforce’s Customer Relationship
Management software, Customer 360 Product Portfolio, Financial Services Cloud, Service Cloud,
and Einstein 1. Ex. 5, Req. No. 5. The Symbility subpoena seeks documents and communications
about Claims Connect, Desk Adjuster and/or Quality Connect. Ex. 6, Req. No. 5. The Verisk
Subpoena seeks documents and communications about ClaimsSearch, ClaimXperience,
Xactimate, XactAnalysis, XactAnalysis Insights, any other product or service “within [Verisk’s]
Xactware Property Estimating Solutions,” ClaimDirector, ClaimDirector Architect, Anti-Fraud
One, DecisionNet, NetMap, and any other product or service “within [Verisk’s] Anti-Fraud Claims
Solution Category,” and products that use or incorporate Verisk Artificial Intelligence Technology.
Ex. 7, Req. No. 5.


                                                 9
     Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 10 of 15 PageID #:465




this request superfluous. To the extent Plaintiffs purport by these requests to seek documents

regarding other products or services, the requested discovery is outside the scope of the Court’s

phasing orders. The Court should therefore enter an order “forbidding the … discovery” sought by

this request. Fed. R. Civ. P. 26(c).

         Phase 1 Request Nos. 6-76

         The Plaintiffs’ subpoenas also directly violate the Court’s discovery phasing orders by

requesting all documents and communications describing or explaining and all documents

and communications concerning each of the products or services the subpoenaed entity provided

to State Farm that “in any way use or incorporate one or more Algorithmic Tools” to:

         a. Identify or assist in the identification of potentially fraudulent or complex Homeowners
            Insurance claims;

         b. Assist with sorting, screening, labeling, routing, tracking, or categorizing Homeowners
            Insurance policyholders or claims in any manner that may affect or influence how an
            insurer processes Homeowners Insurance claims, including the speed with which the
            insurer processes and/or adjusts such claims; the amount and nature of documentation
            or proof the insurer requests in connection with such claims; the number of interactions
            the insurer’s employees or agents have with the claimant; the amount of any payment
            or negotiated award; and the likelihood that such claim is identified as complex,
            potentially fraudulent, or gets directed to Special Investigation Unit (SIU) or law
            enforcement; and/or

         c. Assist in developing, evaluating, or modifying policies, procedures, and/or criteria for
            identifying Homeowners Insurance claims as potentially fraudulent or complex.

Exs. 1-2, 4-7, Req. Nos. 6 and 7; Ex. 3, Req. No. 5. In other words, these requests broadly seek

“all documents and communications” concerning the products and services that are the subject of

Plaintiffs’ Request Nos. 2 through 4.7 Thus, these requests are beyond the scope of the discovery

allowed by the Court’s phasing orders for the same reasons as Request Nos. 2 through 4. But these



6
    The corresponding requests in the Eberl subpoena are numbered 5 and 6. See Ex. 3.
7
  Subparts a through c of each of these requests correspond to Plaintiffs Request Nos. 2 through 4,
respectively.


                                                 10
   Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 11 of 15 PageID #:466




requests also directly violate Judge Harjani’s orders in another way, because rather than limiting

the requests to documents sufficient to identify “what algorithmic tools are used at the outset to

sort potentially fraudulent/complex claims from straightforward claims,” Dkt. 79, they seek “all

documents and communications” describing, explaining, or concerning any products or services

the subpoenaed entities provided to that meet the (overly broad) criteria in the requests. That is

exactly the kind of “voluminous ESI discovery around communications and documents” and “deep

dive into the tools” that the Court expressly stated would not be part of the current stage of

discovery. Id. The Court should therefore enter an order “forbidding the … discovery” sought by

these requests. Fed. R. Civ. P. 26(c).

       Phase 1 Requests Nos. 8-9

       Plaintiffs’ subpoenas to Duck Creek, Salesforce, and Verisk also purport to require those

entities to produce “[a]ll agreements” those entities have with each other relating to any products

or services any of those entities provide to State Farm. See Exs. 2, 5 and 7, Req. No. 8. This

unqualified request does not even give lip service to the Court’s phasing orders limiting the initial

phase of discovery to the identification of algorithmic tools that State Farm uses to sort potentially

fraudulent/complex claims from straightforward claims. Dkt. 79. And Request No. 9 is even farther

afield, purporting to require each of Duck Creek, Salesforce and Verisk to produce “[a]ll

Documents and Communications describing or explaining each of the products or services” that

the subpoenaed entity “provided, sold, or licensed to” one or both of the other two, that “in any

way use or incorporate one or more Algorithmic Tool(s)” that meet the criteria set forth in one or

more of the three sub-parts of Request No. 9. See Exs. 2, 5 and 7, Req. No. 9. This request does

not reference State Farm at all, much less any use of any algorithmic tool(s) by State Farm per the




                                                 11
    Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 12 of 15 PageID #:467




Court’s discovery phasing orders. The Court should therefore enter an order “forbidding the …

discovery” sought by these requests. Fed. R. Civ. P. 26(c).

       Phase 2 Requests

       Finally, and with complete disregard for the Court’s discovery phasing orders, Plaintiffs

labeled a subset of their requests as “Specific Requests for Production—Phase 2.” Exs. 1 and 3-7,

Phase 2 Request Nos. 1-4; Ex. 2, Phase 2 Request Nos. 1-5. Plaintiffs’ “Instructions” to each of

the subpoenaed entities include the following statement regarding the “Phase 2” requests:

       [T]hese requests are reserved for Phase II of discovery as articulated in the Court’s
       scheduling order of February 24, 2024 and Plaintiffs accordingly do not seek
       responses by April 10, 2024. Plaintiffs are willing to meet and confer with You
       regarding an appropriate response time for the [Phase 2 requests].

Exs. 1-7, Section II (Instructions), Instruction No. 2. The “Instruction” is both misleading, and

purports to impose on the subpoenaed entities a burden with respect to “Phase II” discovery (to

“meet and confer” with Plaintiffs’ counsel) that, again, directly violates the Court’s discovery

phasing orders.

       As an initial matter, there is no “scheduling order of February 24, 2024.” Plaintiffs

presumably intended to refer to the Court’s February 23, 2024 discovery phasing order, although

they notably failed to provide the subpoenaed entities with a copy of that order (or, indeed, any of

the Court’s discovery orders). Further, the only reference to Phase II discovery in the Court’s

February 23, 2024 order is the following: “Class-wide claims data and statistical data will be

reserved for Phase Two.” Dkt. 79. None of the Phase 2 requests to the subpoenaed entities seek

discovery of that type – to the contrary, the requests purport to require production of even broader

categories of documents than Plaintiffs seek in their already overly broad Phase 1 requests.8


8
  For example, each of the subpoenas seeks production of “[a]ll Documents concerning State
Farm’s use” of any “software, analytics programs and/or Algorithmic Tools” that the subpoenaed
entity “provided to State Farm.” Exs. 1-7, Req. Nos. 2 and 3.


                                                12
   Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 13 of 15 PageID #:468




       Plaintiffs’ requests for “Phase 2” discovery are also misleading, and grossly premature,

because the actual discovery schedule that Judge Harjani entered does not reference Phase II at

all. Dkt. 81. Rather, the Order sets a schedule for the completion of “the preliminary focus of Phase

I discovery,” and provides that, once that “preliminary focus” discovery is completed, the parties

“shall meet and confer for a schedule to complete Phase I discovery.” Id. There is no schedule,

deadline, or defined scope for Phase II discovery, which may never in fact occur. Plaintiffs’ service

at this juncture of subpoenas that purport to require nonparties to produce documents that even

they recognize are not within the scope of the current phase of discovery would entirely defeat the

purpose of the Court’s phased discovery orders. See, e.g., Christian v. Generation Mortg. Co., No.

12 C 5336, 2013 WL 2151681, at *4 (N.D. Ill. May 16, 2013) (recognizing that the purpose of

bifurcating discovery is to “promote efficiency and economy” and avoid burdening a defendant

with “onerous and expensive discovery” that may prove to be unnecessary); Tamburo v. Dworkin,

No. 04 C 3317, 2010 WL 4867346, at * 3 (N.D. Ill. Nov. 17, 2010) (ordering phased discovery “to

ensure that discovery is proportional to the specific circumstances of th[e] case, and to secure the

just, speedy, and inexpensive determination of th[e] action.”). The Court should therefore enter an

order “forbidding the … discovery” sought by Plaintiffs’ purported “Phase 2” requests. Fed. R.

Civ. P. 26(c).

                                          *      *       *

       Plaintiffs cannot avoid or end-run the Court’s discovery phasing orders by serving

nonparties with subpoenas that seek discovery beyond the scope of what the Court has allowed.

See, e.g., The Connectors Realty Grp. Corp. v. State Farm Fire & Cas. Co., No. 19-cv-00743, Dkt.

247 (N.D. Ill. Jan, 31, 2023) (granting motion for protective order regarding plaintiffs’ subpoena

to a nonparty that sought categories of State Farm documents “identical to those that Plaintiffs




                                                 13
      Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 14 of 15 PageID #:469




sought from Defendant, many of them already disallowed by the court as improper”); Cardona v.

Vivint Solar, Inc., No. 2:19-MC-00161, 2019 WL 4686556, at *2–3 (E.D. Pa. Sept. 26, 2019)

(granting motion to quash third-party document subpoena and reasoning that to hold otherwise

would allow plaintiff to obtain information from a third party that plaintiff was prohibited from

obtaining from defendant, thereby rendering the court’s discovery order meaningless). Plaintiffs

may not obtain from nonparties discovery that this Court’s orders currently prohibit them from

seeking from State Farm. Plaintiffs’ subpoenas to the nonparties should therefore be barred.

Connectors Realty Group, Dkt. 247; Cardona , 2019 WL 4686556, at *2-3; see also Buonavolanto,

2019 WL 8301068, at *3 (granting party’s motion for protective order because third-party

subpoenas failed “the proportionality and relevancy tests under Rule 26(b)”).

II.      The Subpoenas to Crawford, Duck Creek, Eberl, Renfroe, Salesforce and Verisk
         Infringe Upon State Farm’s Interests

         In addition to violating the Court’s discovery phasing orders, Plaintiff’s subpoenas to

Crawford, Duck Creek, Eberl, Renfroe, Salesforce, and Verisk infringe on State Farm’s legitimate

interest in protecting its confidential commercial business information. Most of the requests seek

documents (to the extent they exist) that specifically relate to the subpoenaed entities’ contractual,

business relationships with State Farm. Accordingly, State Farm has standing under both Rule

26(c) and Rule 45 to seek a protective order or an order quashing the subpoenas, and the Court

should enter such an order. See PrimeSource Bldgs. Prods., Inc., 2018 WL 10425599, at *2

(“PrimeSource has shown that the categories of information sought from third parties represent the

kinds of financial and business information that can give rise to a privacy interest. For example,

among the categories of information sought are valuations of PrimeSource, agreements related to

the transaction between PrimeSource and Platinum Equity, and confidential information

memoranda used with potential PrimeSource investors.”); see also Countryman v. Comty. Link



                                                 14
   Case: 1:22-cv-07014 Document #: 85 Filed: 04/10/24 Page 15 of 15 PageID #:470




Fed. Credit Union, No. 1:11-CV-136, 2012 WL 1143572, at *3 (N.D. Ind. Apr. 3, 2012)

(“Businesses have a legitimate interest in the privacy of their financial information that can confer

standing to challenge a subpoena to a third party to produce that information.”).

                                         CONCLUSION

       For the foregoing reasons, State Farm respectfully requests that the Court enter a protective

order pursuant to Federal Rule of Civil Procedure 26(c) “forbidding the … discovery sought by

Plaintiffs’ subpoenas to Crawford & Company, Duck Creek Technologies Inc., Eberl Claims

Service LLC, E.A. Renfroe & Company, Inc., Salesforce Inc., Symbility Solutions Corp., and

Verisk Analytics, Inc. or, in the alternative, quashing the subpoenas to Crawford, Duck Creek,

Eberl, Renfroe, Salesforce, and Verisk pursuant to Federal Rule of Civil Procedure 45.


Dated: April 10, 2024                                 Respectfully submitted,

                                                      /s/     Sondra A. Hemeryck
                                                      Patricia Brown Holmes
                                                      Joseph A. Cancila, Jr.
                                                      Sondra A. Hemeryck
                                                      Sarah E. Finch
                                                      Lauren Abendshien
                                                      RILEY SAFER HOLMES & CANCILA LLP
                                                      70 W. Madison St., Suite 2900
                                                      Chicago, IL 60602
                                                      Tel: 312-471-8700
                                                      Fax: 312-471-8701
                                                      pholmes@rshc-law.com
                                                      jcancila@rshc-law.com
                                                      shemeryck@rshc-law.com
                                                      sfinch@rshc-law.com
                                                      labendshien@rshc-law.com

                                                      Attorneys for Defendant State Farm Fire &
                                                      Casualty Company




                                                 15
